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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              No. 05-20377 B

DENFORD L. GALLOWAY,

      Defendant.
_____________________________________________________________________________

                   ORDER DENYING MOTIONS TO SUPPRESS
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      Before the Court are the motions of the Defendant, Denford L. Galloway, to suppress

evidence (Doc. Nos. 406 and 408). Based on the oral findings made by the Court in a hearing

conducted November 20, 2006, which are incorporated herein, the motions are hereby DENIED.

      IT IS SO ORDERED this 13th day of June, 2007.

                                         s/ J. DANIEL BREEN
                                         UNITED STATES DISTRICT JUDGE
